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 6                           UNITED STATES DISTRICT COURT

 7                          SOUTHERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,            )   Case No. 79CR0773-GT
                                          )
 9                       Plaintiff,)
                                          )
10        v.                              )   ORDER OF DISMISSAL
                                          )   OF INDICTMENT AND
11   ALBERTO SICILIA-FALCON (15), )           RECALL ARREST WARRANTS
     CARLOS ANGEL                   )
12      KYRIAKIDES-VIALLASENO (16),)
                                          )
13                       Defendants.      )
14
     ----------------)

15        Upon motion of the UNITED STATES OF AMERICA and good cause
16   appearing,

17        IT IS HEREBY ORDERED that the Indictment in the above entitled
18   case be dismissed without          prej udice,      and    the Arrest           Warrants       be
19   recalled.

20        IT IS SO ORDERED.

21        DATED:   /f~,~2
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